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                                                                             FILED
                     UNITED STATES COURT OF APPEALS                           JUN 23 2021

                                                                          MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




  CALIFORNIA TRUCKING                             Nos. 20-55106; 20-55107
  ASSOCIATION; et al.,
                                                  D.C. No.
               Plaintiffs-Appellees,              3:18-cv-02458-BEN-BLM
                                                  Southern District of California,
   v.                                             San Diego

  ROBERT ANDRES BONTA, Esquire, in
  his official capacity as the Attorney           ORDER
  General of the State of California; et al.,

               Defendants-Appellants,

   and

  INTERNATIONAL BROTHERHOOD
  OF TEAMSTERS,

               Intervenor-Defendant.


 Before: IKUTA and BENNETT, Circuit Judges, and WOODLOCK,* District
 Judge.

         Appellees’ Motion to Stay Issuance of the Mandate is GRANTED. Pursuant

 to Fed. R. App. P. 41(d)(2), the mandate in the case is stayed to permit appellees to

 file a petition for writ of certiorari in the Supreme Court. Should the Supreme



         *
               The Honorable Douglas P. Woodlock, United States District Judge for
 the District of Massachusetts, sitting by designation.
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 Court grant certiorari, the mandate will be stayed pending its disposition of the

 case. Should the Supreme Court deny certiorari, the mandate will issue

 immediately. The parties shall advise this court immediately upon the Supreme

 Court’s decision.




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